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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION


IN RE:

MARK KREISLER,                                      CASE NO: 21-21464-RAM

                                                    Chapter 13
              Debtor.
_________________________/

                         MOTION FOR ENTRY OF FINAL JUDGMENT

         COMES NOW, the Record Title Owner/Secured Creditor, ARCPE 1, LLC as assignee of

5AIF MAPLE 2, LLC, (“Movant”), by and through its undersigned counsel, hereby seeks the entry

of a Final Judgment against the Debtor, the Debtor’s Counsel, and the Debtor’s Counsel’s Law

Firm as more fully set forth below pursuant to this Court’s April 22, 2022 Order Sanctioning the

Debtor’s Counsel (DE #37), and in support thereof, states as follows:

   1. On December 28, 2021, the Court entered its Order Dismissing Case with Prejudice,

         Granting Prospective Relief from Stay and Setting Prehearing Conference and Briefing

         Deadlines on Request for Sanctions (the “Dismissal Order”) [DE# 18] which went

         unchallenged.

   2. The Scheduling Order set a final evidentiary hearing on the Sanctions Request for April

         20, 2022.

   3. At the start of the April 20, 2022 hearing, the Debtor stipulated to entry of a sanctions

         award against him in the amount of $79,754.60.

   4. The Court awarded sanctions in favor of ARCPE and against the Debtor, Mark Kreisler, in

         the total amount of $79,754.60.



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   5. By agreement, ARCPE’s right to entry of a judgment for the $36,000 portion of the award

       was deferred until final disposition of an appeal pending in the Third District Court of

       Appeal, 5725 LaGorce Partners, LLC v. 5AIF Maple 2, LLC, Case No. 3D21-1756.

   6. In similar fashion, this Court also found that pursuant to Fed. R. Bankr. P. 9011, the

       Debtor’s attorney, Julio Marrero, Esq. (“Mr. Marrero”), and his law firm, Marrero,

       Chamizo, Marcer Law, L.P. (the “Marrero Firm”) were jointly and severally liable, with

       the Debtor, for the attorney’s fees portion of the sanctions entered in the amount of

       $23,705.00 subject to the disposition of the Appeal set forth above.

   7. That on May 25, 2022, the This District Court of Appeal affirmed the Trial Court order

       overruling the Debtor’s and his Limited Liability Company’s Objection to the Jun 4, 2021

       foreclosure sale. Exhibit “A.”

   8. As such, ARCPE hereby seeks the entry of a Final Judgment against the Debtor in the

       amount of $36,000 and a judgment against Mr. Marrero and the Marrero Firm in the

       amount of $23,705.00 as Ordered by the Court on April 22, 2022.

   WHEREFORE, the Secured Creditor, Movant respectfully requests the entry of a Final

Judgment against the Debtor, Mr. Marrero and the Marrero Firm as set forth and consistent with

this Court’s April 22, 2022 Order (DE #37), and for such further relief as this Court deems just

and proper.


        I HEREBY CERTIFY that I am admitted to the bar of the United States District Court for
the Southern District of Florida, and I am in compliance with the additional qualifications to
practice in this court set forth in Local Rule 2090-1(A).




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                                CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that a true and correct copy of the foregoing was filed via
electronic filing the CM/ECF system with the Clerk of Court, which sent email notification of such
filing to all CM/ECF participants in this case, and also via U.S. Mail to Marrero, Chamizo, Marcer
Law LP, 3850 Bird Road, Coral Gables, FL 33146, Bankruptcy@marrerolawfirm.com, Attorney
for Debtor, Mark Kreisler; Trustee, Nancy K. Neidich, POB 279806, Miramar, FL 33024; U.S.
Trustee. Office of the US Trustee 51 S.W. 1st Ave. Suite 1204 Miami, FL 33130 on May 31, 2022.


                                             /s/ John L. Penson
                                             John Penson, Esq.
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                Exhibit “A”
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       Third District Court of Appeal
                               State of Florida

                          Opinion filed May 25, 2022.
       Not final until disposition of timely filed motion for rehearing.

                            ________________

                             No. 3D21-1756
                        Lower Tribunal No. 19-5959
                           ________________


                    5725 Lagorce Partners, LLC,
                                  Appellant,

                                     vs.

                           5AIF Maple 2 LLC,
                                  Appellee.



     An Appeal from a non-final order from the Circuit Court for Miami-Dade
County, Migna Sanchez-Llorens, Judge.

      Marrero, Chamizo, Marcer Law, LP, and Julio C. Marrero, for
appellant.

     John L. Penson, P.A., and John L. Penson, for appellee.


Before EMAS, MILLER and BOKOR, JJ.

     PER CURIAM.
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      Affirmed. See Tanis v. HSBC Bank USA, N.A., 289 So. 3d 517, 522

(Fla. 3d DCA 2019) (“‘[I]t is essential that no sale be set aside for trifling

reasons, or on account of matters which ought to have been attended to by

the complaining party prior thereto,’ as appellants were apprised of the

pendency of the action, thus afforded an opportunity to object, we ascertain

no abuse of discretion in the ruling of the trial court”) (quoting Pewabic Mining

Co. v. Mason, 145 U.S. 349, 356 (1892)). See also Volynsky v. Park Tree

Invs. 21, LLC, 322 So. 3d 714, 716 (Fla. 3d DCA 2021) (“[T]he trial court

afforded Volynsky both notice and a meaningful opportunity to be heard,

satisfying the essential elements of due process”) (citing § 45.031(8), Fla.

Stat. (2021)).




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